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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


  IMPLICIT, LLC,                                   §
       Plaintiff,                                  §
                                                   §
  v.                                               §
                                                   §
  IMPERVA, INC.                                    §
                                                   §       Case No. 2:19-cv-00040-JRG-RSP
                                                   §                 LEAD CASE
  FORTINET, INC.                                   §
                                                   §       Case No. 2:19-cv-00039-JRG-RSP
                                                   §
  JUNIPER NETWORKS, INC.                           §
                                                   §       Case No. 2:19-cv-00037-JRG-RSP
            Defendants.                            §

                          THIRD AMENDED DOCKET CONTROL ORDER


           It is hereby ORDERED that the following schedule of deadlines is in effect until further

  order of this Court:

      Current Date          Amended Date                               Event

       July 6, 2020                             *Jury Selection – 9:00 a.m. in Marshall, Texas be-
                                                fore Judge Rodney Gilstrap
       June 15, 2020                            *Pretrial Conference – 9:00 a.m. in Marshall, Texas
                                                before Judge Roy Payne
       May 26, 2020                             *Notify Deputy Clerk in Charge regarding the date
                                                and time by which juror questionnaires shall be pre-
                                                sented to accompany by jury summons if the Parties
                                                desire to avail themselves the benefit of using juror
                                                questionnaires1
       May 26, 2020                             *Notify Court of Agreements Reached During Meet
                                                and Confer


  The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
  1

  Advance of Voir Dire.


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                                                 The parties are ordered to meet and confer on any
                                                 outstanding objections or motions in limine. The
                                                 parties shall advise the Court of any agreements
                                                 reached no later than 1:00 p.m. three (3) business
                                                 days before the pretrial conference.
      May 26, 2020                               *File Joint Pretrial Order, Joint Proposed Jury In-
                                                 structions, Joint Proposed Verdict Form, Responses
                                                 to Motions in Limine, Updated Exhibit Lists, Updat-
                                                 ed Witness Lists, and Updated Deposition Designa-
                                                 tions
      May 18, 2020                               *File Notice of Request for Daily Transcript or Real
                                                 Time Reporting.

                                                 If a daily transcript or real time reporting of court
                                                 proceedings is requested for trial, the party or parties
                                                 making said request shall file a notice with the Court
                                                 and e-mail the Court Reporter, Shelly Holmes, at
                                                 shelly_holmes@txed.uscourts.gov.
      May 11, 2020                               File Motions in Limine

                                                 The parties shall limit their motions in limine to is-
                                                 sues that if improperly introduced at trial would be
                                                 so prejudicial that the Court could not alleviate the
                                                 prejudice by giving appropriate instructions to the
                                                 jury.
      May 11, 2020                               Serve Objections to Rebuttal Pretrial Disclosures

      April 27, 2020                             Serve Objections to Pretrial Disclosures; and Serve
                                                 Rebuttal Pretrial Disclosures
      April 20, 2020                             Serve Pretrial Disclosures (Witness List, Deposition
                                                 Designations, and Exhibit List) by the Party with the
                                                 Burden of Proof
      April 13, 2020                             *Response to Dispositive Motions (including Daub-
                                                 ert Motions). Responses to dispositive motions that
                                                 were filed prior to the dispositive motion deadline,
                                                 including Daubert Motions, shall be due in accord-
                                                 ance with Local Rule CV-7(e), not to exceed the
                                                 deadline as set forth in this Docket Control Order.2

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      The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure


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                                              Motions for Summary Judgment shall comply with
                                              Local Rule CV-56.
   March 30, 2020                             *File Motions to Strike Expert Testimony (including
                                              Daubert Motions)

                                              No motion to strike expert testimony (including a
                                              Daubert motion) may be filed after this date without
                                              leave of the Court.
   March 30, 2020                             *File Dispositive Motions

                                              No dispositive motion may be filed after this date
                                              without leave of the Court.

                                              Motions shall comply with Local Rule CV-56 and
                                              Local Rule CV-7. Motions to extend page limits
                                              will only be granted in exceptional circumstances.
                                              Exceptional circumstances require more than
                                              agreement among the parties.
   March 25, 2020                             Deadline to Complete Expert Discovery

    March 6, 2020                             Serve Disclosures for Rebuttal Expert Witnesses

    March 5, 2020                             Deadline to Complete Mediation

                                              The parties are responsible for ensuring that a medi-
                                              ation report is filed no later than 5 days after the
                                              conclusion of mediation.
  February 27, 2020                           Comply with P.R. 3-7 (Opinion of Counsel Defens-
                                              es)
  February 18, 2020                           Serve Disclosures for Expert Witnesses by the Party
                                              with the Burden of Proof
  February 11, 2020                           Deadline to Complete Fact Discovery and File Mo-
                                              tions to Compel Discovery
   February 6, 2020                           *Claim Construction Hearing – 9:00 a.m. in Mar-


  to oppose a motion in the manner prescribed herein creates a presumption that the party does not
  controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
  If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
  Motions, the deadline for Response to Dispositive Motions controls.


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                                         shall, Texas before Judge Roy Payne

   January 23, 2020                      *Comply with P.R. 4-5(d) (Joint Claim Construction
                                         Chart)
   January 16, 2020                      *Comply with P.R. 4-5(c) (Reply Claim Construc-
                                         tion Brief)
   January 9, 2020                       Comply with P.R. 4-5(b) (Responsive Claim Con-
                                         struction Brief)
  December 26, 2019                      Comply with P.R. 4-5(a) (Opening Claim Construc-
                                         tion Brief) and Submit Technical Tutorials (if any)

                                         Good cause must be shown to submit technical tuto-
                                         rials after the deadline to comply with P.R. 4-5(a).
  December 18, 2019                      Deadline to Substantially Complete Document Pro-
                                         duction and Exchange Privilege Logs

                                         Counsel are expected to make good faith efforts to
                                         produce all required documents as soon as they are
                                         available and not wait until the substantial comple-
                                         tion deadline.
  December 5, 2019                       File Response to Amended Pleadings

  December 2, 2019                       Comply with P.R. 4-4 (Deadline to Complete Claim
                                         Construction Discovery)
  November 21, 2019                      *File Amended Pleadings

                                         It is not necessary to seek leave of Court to amend
                                         pleadings prior to this deadline unless the amend-
                                         ment seeks to assert additional patents.
  November 14, 2019   November 26, 2019 Comply with P.R. 4-3 (Joint Claim Construction
                                        Statement)
         N/A          November 22, 2019 Defendants Imperva, Juniper and Fortinet Provide
                                        Amended Invalidity Contentions per Discovery
                                        Order (Dkt. 107) ¶3(a)(ii)
   October 24, 2019   November 4, 2019   Comply with P.R. 4-2 (Exchange Preliminary Claim
                                         Constructions)
         N/A          October 24, 2019   Implicit Provides Amended Infringement
                                         Contentions to Imperva and Juniper per the


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                                     Discovery Order (Dkt. 107) ¶3(a)(i)

   October 6, 2019                   Serve Amended Infringement Contentions (as to
                                     Fortinet only), pursuant to P.R 3-1(g), concerning
                                     source code made available by Fortinet on Septem-
                                     ber 6, 2019.
   October 3, 2019                   Comply with P.R. 4-1 (Exchange Proposed Claim
                                     Terms)
   October 3, 2019                   Serve Amended Infringement Contentions (as to
                                     Fortinet only), pursuant to P.R 3-1(g), concerning
                                     source code made available by Fortinet on Septem-
                                     ber 3, 2019.
  September 25, 2019                 Serve Amended Infringement Contentions (as to
                                     Fortinet only), pursuant to P.R 3-1(g), concerning
                                     source code made available by Fortinet on August
                                     25, 2019.
  September 5, 2019                  Comply with P.R. 3-3 (Invalidity Contentions)

  September 5, 2019                  Comply with P.R. 3-4 as to Imperva and Juniper

   August 12, 2019                   Comply with P.R. 3-4 as to Fortinet and Sophos

    July 22, 2019                    *File Proposed Protective Order and Comply with
                                     Paragraphs 1 & 3 of the Discovery Order (Initial and
                                     Additional Disclosures)

                                     The Proposed Protective Order shall be filed as a
                                     separate motion with the caption indicating whether
                                     or not the proposed order is opposed in any part.
    July 15, 2019                    *File Proposed Docket Control Order and Proposed
                                     Discovery Order

                                     The Proposed Docket Control Order and Proposed
                                     Discovery Order shall be filed as separate motions
                                     with the caption indicating whether or not the pro-
                                     posed order is opposed in any part.
     July 8, 2019                    Join Additional Parties

     July 5, 2019                    *File Notice of Mediator




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    June 17, 2019                              Comply with P.R. 3-1 & 3-2 (Infringement Conten-
                                               tions)
  (*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
  shown merely by indicating that the parties agree that the deadline should be changed.

                                ADDITIONAL REQUIREMENTS

         Notice of Mediator: The parties are to jointly file a notice that identifies the agreed upon
  mediator or indicates that no agreement was reached. If the parties do not reach an agreement,
  the Court will appoint a mediator. The parties should not file a list of mediators to be considered
  by the Court.

          Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
  Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
  the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
  exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
  must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
  business days after briefing has completed. For expert-related motions, complete digital copies
  of the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash
  drive to the Court. Complete digital copies of the expert report(s) shall be delivered to the
  Court no later than the dispositive motion deadline.

          Indefiniteness: In lieu of early motions for summary judgment, the parties are directed
  to include any arguments related to the issue of indefiniteness in their Markman briefing, subject
  to the local rules’ normal page limits.

          Motions for Continuance: The following excuses will not warrant a continuance nor
  justify a failure to comply with the discovery deadline:

  (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

  (b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
         unless the other setting was made prior to the date of this order or was made as a special
         provision for the parties in the other case;

  (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
         was impossible to complete discovery despite their good faith effort to do so.

          Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
  the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO
  shall include a proposed order that lists all of the remaining dates in one column (as above) and
  the proposed changes to each date in an additional adjacent column (if there is no change for a
  date the proposed date column should remain blank or indicate that it is unchanged). In other
  words, the DCO in the proposed order should be complete such that one can clearly see all the
  remaining deadlines and the changes, if any, to those deadlines, rather than needing to also refer
  to an earlier version of the DCO.



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         Proposed DCO: The Parties’ Proposed DCO should also follow the format described
  above under “Amendments to the Docket Control Order (‘DCO’).”
         SIGNED this 3rd day of January, 2012.
        SIGNED this 24th day of October, 2019.




                                                 ____________________________________
                                                 ROY S. PAYNE
                                                 UNITED STATES MAGISTRATE JUDGE




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